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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


RITA SERRANO RAMIREZ                )
                                    )
      Plaintiff,                    )
                                    )
v.                                  ) C.A. No.:
                                    )
TESLA INDUSTRIES, INC., a Delaware )
Corporation                         ) JURY TRIAL DEMANDED
                                    )
                                    )
      Defendant.                    )


                                         COMPLAINT


       1.    This action arises to remedy discrimination on the basis of sex in the terms,

             conditions and privileges of employment pursuant to the provisions of Title VII

             of the Acts of Congress known as the Civil Rights Act of 1964, as amended, 42

             U.S.C. § 2000 et seq. ("Title VII").

       2.    The jurisdiction of this Court is also invoked pursuant to 28 U.S.C. §§ 1331,

             1337 and 1343.

       3.    Venue lies in this judicial district since all acts alleged herein occurred within

             the District of Delaware.

                                           PARTIES

       4.    Plaintiff, Rita Serrano Ramirez, (also known as “Rita Serrano”, and formerly

             known as “Rita Serrano Ramirez Gomez”), is a female citizen of the United States

             and currently resides at 8600 Woodland Court, Alexandria, Virginia, 22309.

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   5.    Defendant, Tesla Industries, Inc., is a Delaware Corporation with its principle

         place of business located at 101 Centerpoint Boulevard, New Castle, Delaware.

         Defendant designs, manufactures, tests, and supports power conversion systems.

         Defendant’s Registered Agent for service of process is Reger, Rizzo & Darnall,

         LLP, 1523 Concord Pike, Suite 200, Brandywine Plaza East, Wilmington,

         Delaware, 19803.

   6.    At all times relevant hereto, Defendant, has been an employer as defined in §

         701(b)(g)(h) of the Civil Rights Act, 42 U.S.C. § 2000(b)(g)(h), in that

         Defendant’s operations effect commerce and Defendant has employed at least

         fifteen (15) persons.

   7.    Upon information and belief, at all times relevant hereto Defendant employed

         approximately 78 employees.



                       FACTS COMMON TO ALL COUNTS

   8.    At all times relevant hereto, Defendant’s owner and Chief Executive Officer

         (“CEO”) was David Masilotti, Sr.

   9.    At all times relevant hereto, Defendant’s Human Resources (“HR”) Manager and

         Assistant to the CEO, was David Masilotti Sr.’s daughter, Megan Masilotti.

   10.   At all times relevant hereto, David Masilotti, Jr., son of David Masilotti, Sr., was

         a management employee of Defendant. David Masilotti, Jr. was known as “DJ”.

   11.   At all times relevant hereto, Roberto Morales, (hereinafter “Morales”) was




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         Defendant’s General Manager. In that capacity, Morales had authority to hire,

         fire, and discipline employees.

   12.   Plaintiff began her employment with Defendant on or about August 29, 2016.

         Plaintiff was interviewed and hired by Morales. Plaintiff’s job responsibility was

         to build electrical circuit boards.

   13.   Morales was Plaintiff’s Supervisor. Plaintiff was trained by Morales. After circuit

         boards were completed, they had to be taken to Morales for testing.

   14.   Throughout Plaintiff’s employment with Defendant, Morales subjected Plaintiff to

         severe and pervasive unwelcome sexual harassment including humiliating and

         offensive comments, gestures and physical contact of a sexual nature.

   15.   The almost daily verbal offensive sexual comments included, inter alia:

         a.      Morales telling Plaintiff that he wanted to touch her;

         b.      Morales propositioning Plaintiff, telling Plaintiff that he wanted to have

                 sex with her;

         c.      Morales asking Plaintiff about her sex life, including asking her what

                 sexual positions she liked and what kind of underwear she wears;

         b.      Morales making comments to Plaintiff such as: “ I like the way you look”;

                 “I like to look at you from behind”; “I like your pants;” “ I really like the

                 blouse you are wearing”; “I can see your breast, that makes me wet”;

                 telling Plaintiff that he had to go to the rest room to clean himself;

         e.      Morales telling Plaintiff that he did not hire her husband because he

                 wanted her all to himself; and


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         f.       Morales asking Plaintiff to work until 5:00 p.m. instead of 4:30 p.m.

                  because he wanted to “see her more alone”.

   16.   Plaintiff repeatedly told Morales to stop making those comments and to stop

         asking about inappropriate things.

   17.   Plaintiff told Morales that she needed her job, and that she was supporting her

         family because her husband was unemployed.

   18.   Plaintiff told Morales that if he did not stop his behavior she would report it to

         David Masilotti, Jr., known as “DJ”, a Management Employee and the Owner’s

         son.

   19.   In response, Morales scoffed at Plaintiff and told her that “DJ” would not do

         anything because “DJ” does what his father, owner David Masilotti, Sr., tells him

         to do.

   20.   Plaintiff replied that she would complain to the owner, David Masilotti, Sr.

   21.   Morales told Plaintiff that the owner, David Masilotti, Sr., would not believe her.

   22.    Morales advised Plaintiff that she would not be the first woman to complain

         about him, that others had made accusations against him before, but the owner,

         David Masilotti, Sr., had never believed them.

   23    Morales told Plaintiff that a prior employee, Madeline Diaz, had even sent a letter

         to the owner, David Masilotti, Sr., complaining about Morales’ sexually harassing

         behavior and nothing was done.

   24.   Morales threatened Plaintiff, telling her that she would lose her job if she

         complained.


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   25.   Morales called Plaintiff at home after hours.

   26.   In November, 2016, sometime before Thanksgiving, the sexual harassment

         became physical. Morales physically assaulted Plaintiff. Morales called Plaintiff

         into his office, pushed her against a wall, tired to kiss her, put his hand inside her

         pants and touched her vaginal area.

   27.   Sometime after the physical assault, Plaintiff went to the office and asked to speak

         to “Megan”, the HR Manager. Plaintiff was told that “Megan” was not in that

         day. At the time that Plaintiff sought out “Megan”, Plaintiff did not know that she

         was the CEO and owner, David Masilotti Sr.’s, daughter.

   28.   Morales later told Plaintiff that complaining about him to “Megan”, the HR

         Manager, would not do any good, because she was the daughter of the CEO and

         owner, David Masilotti Sr..

   29.   On or about December 20, 2016, Morales physically assaulted Plaintiff again.

         Morales called Plaintiff into a conference room to deliver a medical appointment

         slip. Morales then grabbed Plaintiff from behind, unbuttoned her shirt, tried to

         unbutton her pants, and placed his hand over her mouth. Morales grabbed

         Plaintiff breasts and private parts, and pressed her hand against his crotch.

         Plaintiff started to cry. Morales let Plaintiff go. He told her that if he wanted to

         fire her he would. Morales’ assault left a bruise on her arm.

   30.   Plaintiff was her family’s sole wage-earner at the time. Plaintiff reasonably feared

         that if she complained she would be retaliated against. Plaintiff feared that she

         would not be believed, her complaints would be futile, and she would either lose


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         her job, or her complaints would aggravate the work environment and it would

         become even more hostile.

   31.   On or about December 23, 2016, Morales asked Plaintiff if she had ever “done it”,

         (referring to having sex), in a storage place. Morales threatened to take Plaintiff

         to his storage place. He told Plaintiff that he had a perfect spot, he just needed a

         perfect date and excuse for not being at work.

   32.   Plaintiff was afraid that Morales was going to take her somewhere and rape her.

   33.   Plaintiff spoke to a co-worker, “Jorge”, (believed to be Jorge Aguilera), and told

         him about the physical assault by Morales on or about December 20, 2016.

         “Jorge” told her that he had observed Morales getting close to her, and looking at

         her in an inappropriate way. “Jorge” told Plaintiff that other women had been

         sexually harassed by Morales. “Jorge” told Plaintiff that other women had

         complained about Morales’ behavior to the owner, David Masilotti, Sr., before,

         but he never believed the women, and they were fired. “Jorge” told Plaintiff that

         she could go to the Police and report it, or she could just do was Morales says,

         “because he will make your life miserable at work if you don’t”.

   34.   On or about December 28, 2016 went to the New Castle County Police to file

         criminal charges against Morales for the sexual assault which occurred on or

         about December 20, 2016 at Defendant’s premises.

   35.   On or about December 29, 2016, Plaintiff called HR Manager Megan Masilotti.

         She was not available. Plaintiff left a message indicating that Morales had touched

         Plaintiff in a sexually inappropriate way.


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   36.   On or about December 29, 2016 Plaintiff gave another employee a letter to hand-

         deliver to HR Manager Megan Masilotti complaining about Morales’ sexual

         harassment.

   37.   On December 29, 2016, within approximately three (3) hours of Plaintiff leaving a

         message for HR Manager Megan Masilotti on her voice-mail, Morales approached

         Plaintiff and said that he knew she had reported him to the Police.

   38.   On the same day, or about December 29, 2016, Plaintiff was called to a meeting

         with HR Manager Megan Masilotti, David Masilotti, Sr. and Detective Shughart

         of the New Castle County Police.

   39.   Someone in the room acknowledged that there had been “little jokes” about

         Morales before. Detective Shughart accused Plaintiff of making a false report and

         stated that she would consider referring the matter of a false report to the Attorney

         General’s Office for prosecution.

   40.   After Detective Shughart and David Masilotti Sr. left the meeting, HR Manager

         Megan Masilotti told Plaintiff to wait while she checked on something. As

         Plaintiff waited for Megan Masilotti to return, Plaintiff overheard Megan

         Masilotti talking to her father, David Masilotti, Sr.. Megan Masilotti said to her

         father, words to the effect that, “this is your fault”. David Masilotti, Sr.

         responded, “How is it my fault?”. Megan Masilotti responded, “because you

         knew about this and didn’t do anything about it”.

   41.   Megan returned to the room and told Plaintiff to return to work. Megan did not

         tell Plaintiff that the matter would be investigated, or that anything else would be


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         done.

   42.   Plaintiff was feeling ill and was permitted to leave work early on December 29,

         2016.

   43.   Plaintiff returned to work on December 30, 2016. Morales was there. He had not

         been suspended.

   44.   Plaintiff was put in another work space. However, Morales, as General Manager,

         oversaw all of the operations, and he made a point of coming by, standing close to

         Plaintiff, and intimidating her. Also, Plaintiff’s work tasks were the same. She

         would still be required to take completed Circuit Boards to Morales for testing.

   45.   On December 20, 2016, Plaintiff went to a break room near the security station for

         lunch. Morales came into the break room. Plaintiff believed he was stalking her.

   46.   Plaintiff did not return to work after December 30, 2016. Her fears had been

         realized. Plaintiff’s complaints were not believed, they were futile. Plaintiff feared

         being continually sexually harassed by Morales, and possibly raped. Even after

         her complaints, Morales was not suspended or fired; Morales was still able to

         come near her and intimidate her. Defendant did not protect Plaintiff from

         Morales and Defendant did not give any indication that it would protect Plaintiff

         from Morales. Plaintiff felt that she had no choice but to resign.

   47.   Upon information and belief, Defendant did not conduct an investigation into

         Plaintiff’s complaints until after it received a copy of Plaintiff’s Charge of

         Discrimination jointly filed at the Delaware Department of Labor/ Equal

         Employment Opportunity Commission on or about February 2, 2017.


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   48.   Upon information and belief, even when it did conduct a post-Charge

         investigation, Defendant never interviewed the Harasser, Morales, as part of its’

         investigation.

   49.   At no time during Plaintiff’s employment did Defendant ever conduct any sexual

         harassment training.

   50.   Plaintiff was not the first person to be sexually harassed by Morales at

         Defendant’s site. At least four (4) other women were sexually harassed by

         Morales.

   51.   Upon information and belief, prior to September, 2016, a former employee of

         Defendant’s filed a Sexual Harassment Charge of Discrimination against Tesla

         alleging sexual harassment by Morales. Upon information and belief, after the

         Charge was filed, the former employee was threatened by cohorts of Morales.

   52.   Upon information and belief, prior to September 2016, Defendant entered into one

         or more confidential settlements with women based on allegations of sexual

         harassment by Morales.

   53.   Upon information and belief, prior to September, 2016, Defendant’s owner, David

         Masilotti, Sr., knew of Morales’ sexually harassing behavior towards women

         employees.

   54.   Upon information and belief, prior to September, 2016, Defendant’s HR Manager

         Megan Masilotti, knew of Morales’ sexually harassing behavior towards women

         employees.

   55.   Upon information and belief, prior to September, 2016, Defendant, was advised


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          by the Police that one or more women had complained about sexual harassment

          by Morales.

    56.   Upon information and belief, prior to September, 2016, Manager “DJ” Masilotti

          knew of Morales’ sexually harassing behavior towards women employees.

    57.   Despite management’s knowledge of prior sexual harassment complaints against

          Morales and/or knowledge of Morales’ sexually harassing behavior towards

          women employees, Defendant failed to take appropriate steps to ensure that

          women in general, and Plaintiff, in particular, would not be subjected to sexual

          harassment. As such, Defendant failed to provide an effective complaint

          mechanism and Defendant failed to prevent sexual harassment.

    58.   Despite management’s knowledge of prior sexual harassment complaints against

          Morales and/or knowledge of Morales’ sexually harassing behavior towards

          women, even after Plaintiff’s Complaint, Defendant failed to take appropriate

          intermediary steps to ensure that Plaintiff, in particular, would not be subjected to

          further harassment. Defendant failed to exercise reasonable care to prevent and

          promptly correct any harassment.

    59.   Morales’ should have immediately been suspended on December 29, 2016, the

          date of Plaintiff’s formal complaint, pending a formal investigation.

    60.   As a direct and proximate result of the sexual harassment, Plaintiff has

          experienced and continues to experience extreme anxiety and emotional distress

          including lack of sleep and nightmares.




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                          ADMINISTRATIVE EXHAUSTION

    61.   On or about February 2, 2017 Plaintiff jointly filed a Charge of Discrimination

          with the Delaware Department of Labor (“DDOL”) and the Equal Employment

          Opportunity Commission (“EEOC”) against Defendant alleging sex

          discrimination/sexual harassment and retaliation.

    62.   On or about May 31, 2019, the DDOL issued a Reasonable Cause Determination

          and Notice of Mandatory Conciliation. The Reasonable Cause Determination

          found that an unlawful employment practice had occurred. Specifically, the

          Reasonable Cause finding concluded that:

          a.      Plaintiff was a member of a protected class because of her sex (female);

          b.      Plaintiff was subjected to unwelcome verbal and physical contact by her

                  supervisor, Roberto Morales (General Manager);

          c.      Plaintiff was sexually harassed in a verbal and physical manner by Mr.

                  Morales; Thus, the harassment complained of was based on the statutorily

                  protected class (sex);

          d.      The harassment had the purpose or effect or unreasonably interfering with

                  Charging Party’s work performance and/or creating an intimidating,

                  hostile, or offensive work environment.

          e.      Plaintiff did not unreasonably fail to either take advantage of any

                  preventive or corrective opportunities provided by Defendant or to avoid

                  harm otherwise.

          f.      Defendant failed to exercise reasonable care to prevent and promptly


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                    correct any harassing behavior.

          g.        There is a basis for imputing liability to Defendant.

    63.   None of Defendant’s Management employees appeared for the Mandatory DDOL

          Conciliation Conference.

    64.   Plaintiff, through Counsel, requested a Notice of Right to Sue Letter from the

          EEOC.

    65.   On or about September 13, 2019 the EEOC issued a Notice of Right to Sue

          Letter.

    66.   Plaintiff’s Counsel received a copy of the Notice of Right to Sue Letter by e-mail

          on September 13, 2019.

    67.   A true and correct copy of the Notice of Right to Sue Letter is attached hereto as

          Exhibit “1" .



          COUNT I - SEX DISCRIMINATION/SEXUAL HARASSMENT

    68.   Paragraphs 1 through 67 are hereby realleged and incorporated herein by reference

          as if fully set forth herein.

    69.   Such acts as described above by Defendant, its agents and employees, constitute

          unlawful sex discrimination and sexual harassment against Plaintiff in violation of

          Title VII, 42 U.S.C. § 2000(e) et. seq. The harassment had the purpose or effect or

          unreasonably interfering with Plaintiff’s work performance and/or creating an

          intimidating, hostile, or offensive work environment.




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    70.   As a direct and proximate result of Defendant’s unlawful discrimination, in the

          nature of sexual harassment, by Defendant, through its agents and employees,

          Plaintiff has been injured and has suffered and will continue to suffer pain, fear,

          humiliation, anxiety, depression, mental anguish, emotional distress, and physical

          manifestation of anxiety.



                      COUNT II - CONSTRUCTIVE DISCHARGE

    71.   Paragraphs 1 through 70 are hereby realleged and incorporated herein by reference

          as if fully set forth herein.

    72.   Such acts as described above by Defendant, its agents and employees, created

          working conditions that were so intolerable, that Plaintiff had no choice but to

          resign.

    73.   A reasonable person in Plaintiff’s position would also have felt compelled to

          resign due to the intolerable working conditions.

    74.   As a direct and proximate result of Defendant’s constructive discharge, by and

          through its agents and employees, Plaintiff has been injured and has suffered and

          will continue to suffer pain, fear, humiliation, anxiety, depression, mental anguish,

          emotional distress, and physical manifestation of anxiety.



                            COUNT III- PUNITIVE DAMAGES

    75.   Paragraphs 1 through 74 are hereby realleged and incorporated herein by reference

          as if fully set forth herein.


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        76.     Such acts as described above by Defendant, through its Management employees,

                in failing to prevent and protect Plaintiff from Morales’ sexually harassing

                conduct, especially in light of prior knowledge of Morales’ sexually harassing

                behavior towards female employees, exhibited a reckless indifference to

                Plaintiff’s federally protected rights.

        77.     As such, Plaintiff is entitled to punitive damages.



        WHEREFORE, Plaintiff Rita Serrano Ramirez demands judgment in her favor against

Defendant Tesla Industries, Inc. for compensatory damages, damages for emotional distress,

damages for pain and suffering, punitive damages, costs of this action, Attorney’s fees, expert

fees, pre-judgment interest, post-judgment interest, and any other just and equitable relief as this

Court deems proper, including an injunction permanently restraining these violations of Title VII

and a directive that Defendant take such affirmative action as are necessary to ensure that the

effects of these unlawful employment practices are eliminated and do not continue to affect

Plaintiff’s employment opportunities.

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                                   ATTORNEYS FOR PLAINTIFF

Date: 11/5/19




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